 Case 3:15-cv-02426-PGS-DEA Document 9 Filed 08/18/15 Page 1 of 1 PageID: 23




                              UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY



    Danielle Torres,
                 Plaintiff                                 Civil Action No. l 5-cv-2426 (PGS)

                       v.
    Discover Financial Services
    d/b/a Discover Card,
              Defendant.
                                                                  ORDER

       WHEREAS, this matter having come before the Court, and the parties having amicably

resolved the matter and

       IT IS on this 18th day of August, 2015,

       ORDERED that the matter be and hereby is dismissed with prejudice and without costs,

except any party may reopen for good cause shown within sixty days. The court retains

jurisdiction over the agreement to enforce the terms.




                                                        PETER G. SHERIDAN, U.S.D.J.




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                                                                                 AUG 13 2015
                                                                             AT 8:30                M
                                                                                 WILLIAM T. WALSH
                                                                                      CLERK
